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                        Melissa Chinery       9/15/2021
                                                                    Page 515

1    STATE OF TEXAS              )
2    COUNTY OF DALLAS            )
3               THIS IS TO CERTIFY THAT I, MELISSA J. CARSON,
4    a Certified Shorthand Reporter in and for the State of
5    Texas, reported in shorthand the proceedings had at the
6    time and place set forth in the caption hereof, and
7    that the above and foregoing 265 pages contain a full,
8    true, and correct transcript of the said proceedings to
9    the best of my ability.
10              Certified to on this the 28th day of October,
11   2021.
12
13
14                        ____________________________
                          MELISSA J. CARSON, Certified
15                        Shorthand Reporter in and for
                          The State of Texas
16
17
18   Certification No. 1737
19   CRCB Firm Registration #489
20   Expires August 31, 2022
21   CARSON REPORTING & ASSOCIATES
22   Post Office Box 551628
23   Dallas, Texas 75355-1628
24   Telephone 214.346.3434
25



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1                      IN THE MATTER OF THE HEARING
2    MELISSA CHINERY, Member            )
         and                            )
3    SANDRA LEE, Member                 )
                                        )BEFORE ARTICLE VII
4         AND                           )    ARBITRATOR
                                        )HON. RUBEN B. ARMENDARIZ
5                                       )
     ROBERT ROSS, Member                )
6
7
8
                **************************************
9                         NOVEMBER 17, 2021
10                             VOLUME 2
                **************************************
11
12
13
14              BE IT REMEMBERED that on the 17th day of
15   November, 2021, the above cause came on for hearing
16   before HON. RUBEN R. ARMENDARIZ at the WESTIN IRVING
17   CONVENTION CENTER AT LAS COLINAS, 400 West Las Colinas
18   Boulevard, located in the City of Irving, County of
19   Dallas, State of Texas, whereupon the following
20   proceedings were had.
21
22
23
24
25



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1                        A P P E A R A N C E S:
2         HON. RUBEN R. ARMENDARIZ
          LABOR MANAGEMENT ARBITRATOR
3         29010 Pfeiffers Gate
          Fair Oaks Ranch, Texas 78015
4         PHONE: 210.379.0860
          EMAIL: arbruben@gmailcom
5
          APPEARING AS THE ARBITRATOR
6
          MS. MELISSA CHINERY
7         EMAIL: Melchinery@aol.com
                    AND
8         MS. SANDRA LEE
          EMAIL: SEL27995@gmail.com
9
          APPEARING FOR THE CHARGING PARTY
10
          MR. ROBERT ROSS
11        EMAIL: 1RROSS@COMCAST.NET
                    AND
12        MS. GINA GUIDRY
13        APPEARING FOR THE CHARGED PARTY
14
15                                *   *   *    *
16
17
18
19
20
21
22
23
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25



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13
     REPORTER'S NOTE:
14   Due to the horrible acoustics in the hearing room and
     without the use of microphones, there will be noted
15   (unintelligible) several times throughout the
     transcript. I apologize for this; however, if I cannot
16   hear it, I cannot write it.
17   Additionally there are several notations of
     simultaneous speaking or simultaneous discussions
18   throughout the transcript. When several people talk at
     the same time, there is no way to possibly discern who
19   is speaking.
20
21
22
23
24
25


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1    That is yet to be discovered.
2                      The first charge that they have are
3    credit cards.      There will be no proven willful act of
4    any credit card usage.        I've been frugal.         I've been
5    honest.    I've saved the membership tens of thousands of
6    dollars by my actions and by actions of my family, the
7    move, and otherwise.        We will prove that we have not
8    willfully violated any policy.
9                      Were there mistakes?          Possibly.    Could we
10   have found errors in accounting?            Possibly.       I don't
11   think so.     Could there be a receipt that's unexplained?
12   Possibly.     But I don't think that there's anybody that
13   can go through life and never make a mistake, but the
14   question is were they willful.
15                     We have a question of rental cars, charge
16   number two, violation, rental car.              We have records
17   that show that this should have never been in these
18   charges and the entire charges should have been
19   dismissed for untimely.         We will show documentation
20   that they've known about any questions on rental cars
21   all the way back to 2019.         For them to include that in
22   these charges right here should have been investigated
23   and discovered prior to arbitration.              The process of
24   the Executive Committee did not allow myself to attend
25   that Executive Committee in a timely manner or to



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1    defend myself or any investigative process whatsoever
2    that would have shown that that was untimely.               And if
3    that of -- that charge is untimely within it, the
4    entire charge should have been thrown out for
5    timeliness.
6                      Reimbursement.      They'll show that under
7    policy manual 5G 1B, ground transportation they claim
8    at residence.      I have no idea what they're talking
9    about on this, but I'm positive that through my actions
10   there was no violation of any reimbursement to myself
11   and I look forward to proving that today.
12                     Number four, MEA and SAF expense.           There
13   have been resolutions passed that have cleared up any
14   confusion that was in the policy manual at the time.
15   In clearing up those confusions, the 2021 policy manual
16   is updated to actually include how the Ross
17   administration handled certain MEA and SAF meal
18   expenses to include how we actually did it.              That will
19   also be investigated while we're here today and you
20   will see that there were no MEA and SAF meal expense
21   and certainly no willful intent of any violation.
22                     Number five, charge, payout of vacation,
23   changed the formula.        This is a good topic that should
24   have been investigated and should still be investigated
25   because the terms of Ross' Transition Agreement, though



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1    Treasurer.
2                                ERIK HARRIS,
3    having been first duly sworn, testified as follows:
4                            DIRECT EXAMINATION
5    BY MS. LEE:
6         Q.     Hi, Erik.
7         A.     Hello.
8         Q.     Thank you for coming today.          We know it's been
9    quite the week, so we appreciate it.
10        A.     Thank you.
11        Q.     So again, what is your name?
12        A.     Erik Harris.
13        Q.     Where are you employed?
14        A.     American Airlines and APFA.
15        Q.     Okay.    What is your position at APFA?
16        A.     I'm the National Treasurer.
17        Q.     How long have you been employed at American
18   Airlines?
19        A.     About eight years.
20        Q.
           .     Okay.     Besides National Treasurer, have you
21   held any other positions -- positions at APFA during
22   your career?
23        A.     Yes, various positions.        Most recently --
24   well, prior to this position, I was a contract chair.
25   I served on the budget committee pretty much my entire



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1    career.
2         Q.     And in your role as National Treasurer, have
3    you been responsible for responding to requests to see
4    financial information?
5         A.     Yes.
6         Q.     Did you receive requests from Melissa and
7    myself to come down and see financial records?
8         A.     Yes.
9         Q.     And did you set up times for us to see the
10   information?
11        A.     Yes.
12        Q.     Approximately how many times have we come down
13   to review information?
14        A.     About five to 10.
15        Q.     So have you been present with myself and
16   Melissa when we came down?
17        A.     Yes.
18        Q.     If you were not present, who was present?
19        A.     I believe
                        ve there was only one time and my
                   believ
20   assistant, Robert, was there and Margot has been there
21   and there were a couple occasions where all four
22   Officers were there.
23        Q.     So we were never alone
                                  a     -- alone with these
24   financial documents?
25        A.     That's right.



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1         Q.     Who was the Treasurer before you took office?
2         A.     Craig Gunter.
3         Q.     And before him?
4         A.     Eugenio Vargas.
5         Q.     How would you describe the state of the Union
6    financial records when you took office?
7         A.     They were -- it was pretty bad, in bad shape.
8         Q.     Who has the responsibility under APFA
9    Constitution to maintain the financial records?
10        A.     The National Treasurer does.
11        Q.     Did you receive a subpoena from Melissa and
12   myself, the charging parties, for financial documents
13   related to this hearing?
14        A.     Yes.
15        Q.     And did you oversee the efforts to locate and
16   provide those documents?
17        A.     Yes.
18        Q.     Can you explain the steps taken to ensure
19   which documents you had?         Oh, okay.      I'll tell you
20   what, I want you to look at Exhibits 8 through 46 in
21   the big book.
22        A.     Okay.
23                      MS. LEE:   Oh, we need -- that too.
24                      THE ARBITRATOR:      Which one, the blue
25   one?



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1                        MS. LEE:    Yeah.
2                        MS. CHINERY:     Hold on.      I'm coming.
3                        MS. LEE:    We'll give you yours.
4                        THE ARBITRATOR:      Oh, okay.    I guess we...
5                        MS. LEE:     I'm going to move to submit
6     Exhibits 8 through 46 into evidence, which are
7     financial documents.
8                        THE ARBITRATOR:       You got to prove them
9     up first.
10                       MS. LEE:    Okay.
11         Q.     (BY MS. LEE)       Are there any items you were
12    unable to locate from the subpoena?
13         A.     Yes.
14         Q.     Okay.   I want you to take a look at those
15    documents, 8 through 46.
16         A.     Okay.
17                       MR. ROSS:    8 through 46?
18                       MS. LEE:     8 through 46.      Take your time.
19                       MR. ROSS:    I have 27 here.
20                       MS. LEE:    I think it's 46.
21                       MR. ROSS:    8 through 46?
22                       MS. LEE:    8 through 46.
23                       MR. ROSS:    So --
24                       (Simultaneous speaking.)
25                       MS. LEE:    She's going to give them to



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1     A list of hotels for Bob Ross.          All paperwork for
2     rental cars.       Any equipment purchase.        Correspondence
3     with the collection agency regarding Ross' failure to
4     provide information.       Emails from -- between Debbie
5     Hoover and Eugenio regarding repayment.             Receipts for
6     hotel stays, U-Hauls, and a list of vacation days.
7     Accounting of vacation payout and Bob Ross' exit -- Bob
8     Ross' exit package and documents from outside Counsel,
9     Mike (sic) Richards.
10         Q.     Okay.   Can you explain the steps that we took
11    to -- that you took to give us these documents besides
12    the subpoena?       Had we -- had we gone over these
13    documents?
14         A.     Yes.    So for these documents, are you
15    saying -- what was the question?
16         Q.     Those financial documents.
17         A.     But what was the question?
18         Q.     Okay.   So the documents that you have in front
19    of you are the documents that we subpoenaed?
20         A.     Yes.    Yes.
21                       MS. LEE:    Okay.   So these are Exhibits 8
22    through 46, which I'd have like -- like to have
23    admitted into evidence, which are financial documents.
24                       THE ARBITRATOR:      Any objection?
25                       MR. ROSS:    I think we've already



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1                      MS. CHINERY:      Objection, we -- we --
2                      MR. ROSS:     -- I'm still speaking -- if
3     some of this stuff could be entered into the record and
4     we get into it and find out it's not correct, not true,
5     now it's been entered into the record -- record.               So I
6     am not familiar enough with protocol to make sure
7     that --
8                      MS. CHINERY:        You've had these documents
9     for months.
10                     THE ARBITRATOR:        Well look, let's --
11    let's get something -- off the record.
12                     (Discussion off the record.)
13                     THE ARBITRATOR:        I hear -- I hear your
14    concern, but all we're -- we're -- we're accepting this
15    for the reason that he -- he complied with the subpoena
16    and that's what these documents are, nothing else.
17    We're not saying that they're true, correct or
18    whatever, we're just submitting it in based upon the
19    duces tecum.     Okay?    Okay.    It's -- do you still have
20    an objection?
21                     MR. ROSS:     No.
22                     THE ARBITRATOR:        Okay.     Hearing no
23    objection, charging party CP Exhibit 8 through 46 -- is
24    it 8 --
25                     MS. CHINERY:      Yes.



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1                        MS. CHINERY:     This is --
2                        MR. ROSS:    Okay.    All kind of assumptions
3     have been made based on a false or altered
4     (unintelligible) altered agreement and which gives the
5     assumption that Ross was under -- overpaid.               It's in
6     collections right now and I think we just established
7     the fact that there are --
8                        MS. CHINERY:     Objection --
9                        MR. ROSS:    12 --
10                       MS. CHINERY:    -- you didn't establish
11    anything --
12                       THE ARBITRATOR:      Yeah.
13                       MR. ROSS:    -- 12 days of vacation --
14                       THE ARBITRATOR:       Why don't you ask him a
15    question.
16         Q.     (BY MR. ROSS)      Are there -- based on the
17    information that I showed you, does it appear that
18    there are 12 days of sick --
19                       MS. CHINERY:     Objection, leading.
20                       THE ARBITRATOR:       No, I'm going to --
21                       MR. ROSS:    Here's the question --
22                       THE ARBITRATOR:      -- allow it.
23         Q.     (BY MR. ROSS)      Does it appear that there are
24    12 days of sick still unpaid?
25         A.     Yes.



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1          Q.     Okay.   Going back to Section 16, the color
2     chart, one page behind it says part two, you accept
3     that --
4          A.     Yes.
5          Q.     -- (unintelligible) and the very next page
6     back should be a chart.        This chart was provided by
7     APFA?
8          A.     Oh, yes.
9          Q.     Okay.
10         A.     It's my chart, yeah.
11         Q.     And as you thumb through it, you'll get to a
12    page that has got an A on it on the top.             This is --
13    these numbers in here represent how much for each one
14    of the sick and vacation days, the day rate that was
15    paid for each one of those, what it was paid for,
16    correct?     And on that particular one it shows Bob Ross
17    and it says overpayment calculation.
18         A.     Yes.
19         Q.     All right.    Overpayment calculation and it's
20    based on, if you look down at vacation pay 2017, if you
21    look on the right-hand side -- or left-hand side --
22         A.     Yes.
23         Q.     -- okay?   And if you skim across and it says
24    eligible days to pay, 14?
25         A.     Yes.



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1          Q.     That's per policy, correct?
2          A.     Yes.
3          Q.     But it's not necessarily per Transition
4     Agreement because the Transition Agreement says all
5     accrued and unused?
6          A.     Yes.
7          Q.     That doesn't specify per policy, it specifies
8     outside of policy, right, in --
9          A.     Yes.
10         Q.     -- the Transition Agreement, okay?
11         A.     Yes.
12         Q.     And then sick pay for 2017, if you skim
13    across, has 12 eligible days?
14         A.     Yes.
15         Q.     Okay.   So there were more days accrued than 14
16    and there were more days accrued than 12 for those
17    two --
18         A.     Yes.
19         Q.     -- right?    And that's what Ross was to be paid
20    out above and beyond policy per Transition Agreement?
21                       MS. LEE:    Objection, he -- he's asking a
22    question and then he's answering it.
23                       THE ARBITRATOR:      Yeah.    Why don't you
24    ask a question.
25         Q.     (BY MR. ROSS)      Based on the policy agreement,



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1     would you ascertain that Ross was to be paid out above
2     policy, based on the wording of the Transition
3     Agreement?
4          A.     Yes.    Yeah.
5          Q.     So that transition was proved and signed by
6     the Board?
7          A.     Yes.
8          Q.     So they knew it.      They knew that there was a
9     certain amount of monies, right?
10         A.     I believe so.     I --
11         Q.     And --
12                       (Simultaneous speaking.)
13         A.     -- wasn't there --
14         Q.     Okay.    So -- but if Ross was really only paid
15    12, that's per policy, per se --
16         A.     Yes.
17         Q.     -- and 14 for vacation per policy and that's
18    all he was paid, then he would be underpaid, correct?
19                       MS. LEE:    Objection, it's leading.
20                       THE ARBITRATOR:      No, he's asked the
21    question.
22                       MS. LEE:   Okay.
23                       THE ARBITRATOR:     He asked the question --
24                       MS. LEE:   I'm waiting for him to ask --
25                       THE ARBITRATOR:     -- would he be



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1     underpaid.
2                        MS. LEE:   Okay.    Yes.
3          A.     Yes.
4          Q.     (BY MR. ROSS)      Okay.    So if a wrong
5     calculation was used, right, the daily rate --
6          A.     Oh, the formula --
7          Q.     -- to --
8                        (Simultaneous speaking.)
9          A.     -- yes.
10         Q.     (BY MR. ROSS) -- see the -- say the formula --
11    say the formula coming up for how much he got paid for
12    each one of those days was incorrect, all right?
13         A.     Uh-huh.
14         Q.     Because it had numbers that should or should
15    not have -- we don't know because nobody was at the
16    actual negotiations of that tentative agreement or that
17    Transition Agreement except the parties who were there,
18    right?     Would that be -- you wouldn't -- you didn't
19    have any paper that says what I was supposed to be
20    paid?
21         A.     No, I didn't.
22         Q.     And Eugenio Vargas, the Treasurer at the time,
23    he wasn't a part -- he wasn't a Board member, so he
24    wasn't a part, he didn't sign it.              So you could only
25    really -- would you -- would you agree that you could



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1                        THE ARBITRATOR:      Well --
2                        MR. ROSS:    I have -- I have.
3                        (Simultaneous speaking.)
4                        THE ARBITRATOR:       Look --
5                        MR. ROSS:    The reason -- the reason I'm
6     trying to bring it up --
7                        THE ARBITRATOR:       You can argue this in
8     brief, okay?
9                        MR. ROSS:    Okay.
10                       THE ARBITRATOR:       Let's go on to
11    something else.
12         Q.     (BY MR. ROSS)      The documentation that you sent
13    when you responded is the same documentation; is
14    that --
15         A.     Yes.
16         Q.     They're a duplicate --
17         A.     Yes.
18         Q.     -- right?    So when Diversified came and got
19    all the documents that Ross himself prior didn't
20    understand and couldn't figure out and asked questions
21    about, when -- when Ross received this, and can you
22    look at it and can you see that it's the same documents
23    that went to Diversified that you had sent Mr. Ross?
24         A.     Yes.
25         Q.     Okay.   So instead of Ross understanding what



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1     it was and still didn't understand what it was,
2     Diversified Credit just simply got all the exact same
3     documents, right?
4          A.     Right.
5          Q.     Okay.    Look at the very front page and -- on
6     Diversified where the number one is checked.
7          A.     Yes.
8          Q.     Can you read that?
9          A.     We have determined that the information in our
10    file regarding the account is accurate.             Attached
11    hereto is validation of the account information in our
12    file.
13         Q.     Okay.    Are they accountants?       Do they know the
14    inner workings?      Have they ever seen Ross' Transition
15    Agreement?      That's three questions, but --
16                       MS. CHINERY:     Objection, your
17    transition, what does that have to do with --
18                       THE ARBITRATOR:     Yeah, they're not --
19                       MR. ROSS:   Since Ross was paid for his
20    Transition Agreement --
21                       THE ARBITRATOR:      Okay.    Mr. Ross --
22                       MR. ROSS:   Alls I did was just --
23                       THE ARBITRATOR:     Mr. Ross, this -- this
24    outfit, Diversified, they're not aware of the
25    Transition Agreement.



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1                      MR. ROSS:     Right.
2                      THE ARBITRATOR:       Okay.    And so --
3                      MR. ROSS:     How could they still -- how
4     can they attest --
5                      THE ARBITRATOR:        Well, you're making an
6     assumption that they looked at your Transition
7     Agreement.     Let's, you know --
8                      MR. ROSS:     No, I'm sorry --
9                      THE ARBITRATOR:       -- you --
10                     MR. ROSS:     -- that's not the right
11    assumption as --
12                     THE ARBITRATOR:       Okay.
13                     THE WITNESS:       It's also a part of -- did
14    say it's also a part of pending litigation.              So we --
15    we -- she doesn't want us to discuss much of the
16    collections in -- in that as well, so --
17                     THE ARBITRATOR:        Okay.
18         Q.     (BY MR. ROSS)      Has Ross ever -- has Ross
19    ever --
20                     THE ARBITRATOR:        Is that -- is that
21    true --
22                     MR. ROSS:     That's not --
23                     THE ARBITRATOR:       -- that they --
24                     MR. ROSS:     -- true.
25                     THE ARBITRATOR:       -- say pending



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1     litigation.
2                      MR. ROSS:     No, they claim it is that I
3     received no -- no litigation, I've received zero --
4                      THE ARBITRATOR:        Notice.
5                      MR. ROSS:     -- no, they've -- they've
6     called, I've talked to them.         I finally had to tell
7     them that -- Diversified that I'm not going to have a
8     conversation with them because they report and --
9                      THE ARBITRATOR:       That's okay --
10                     (Simultaneous speaking.)
11                     MS. CHINERY:      Objection --
12                     THE REPORTER:      I can't --
13                     THE ARBITRATOR:        So let me -- let me say
14    this, Mr. Ross.      We've gone through this a lot --
15                     MR. ROSS:     Right.
16                     THE ARBITRATOR:       -- today.     You can argue
17    this in a brief.      You can show the formulas, you can do
18    whatever, but you can argue it in the brief and let's
19    get on with this.      Let's ask what other questions you
20    have of Mr. Harris.
21                     MR. ROSS:     That was a -- that was a major
22    part of it, because that statement right there --
23                     THE ARBITRATOR:        No, what --
24                     MR. ROSS:     (Unintelligible.)
25                     THE ARBITRATOR:       -- did I say?      Let's go



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1     on.   Let's move on.
2                         MR. ROSS:    We'll deal with this in brief.
3           Q.     (BY MR. ROSS)      When Ross was put into
4     collections, was he put into collections by will of the
5     Board or did he -- at that point had he violated any --
6                         MS. CHINERY:     Objection, he didn't pay
7     his bill.
8                         THE REPORTER:    I didn't understand that.
9                         THE ARBITRATOR:     Well, you know, he's
10    asking a question and I told you, let's go to something
11    else, okay?
12                        MR. ROSS:    Want to get completely off of
13    that.      Okay.
14                        MS. BRUNS:     Move from collections to
15    something else.
16                        MR. ROSS:    (Sotto voce.)     Yeah, can we
17    take a -- take a break here?
18                        THE ARBITRATOR:    No, let's -- let's
19    finish with this witness, okay?
20          Q.     (BY MR. ROSS)       Do you recall an email between
21    an update on the former National Officers which were
22    paid out on November 10th, 2019?
23          A.     August 10th, 2019?
24          Q.     Yes.
25          A.     No.



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1     STATE OF TEXAS             )
2     COUNTY OF DALLAS           )
3                THIS IS TO CERTIFY THAT I, MELISSA J. CARSON,
4     a Certified Shorthand Reporter in and for the State of
5     Texas, reported in shorthand the proceedings had at the
6     time and place set forth in the caption hereof, and
7     that the above and foregoing 302 pages contain a full,
8     true, and correct transcript of the said proceedings.
9                Certified to on this the 13th day of December,
10    2021.
11
12
13                         ____________________________
                           MELISSA J. CARSON, Certified
14                         Shorthand Reporter in and for
                           The State of Texas
15
16
17    Certification No. 1737
18    CRCB Firm Registration #489
19    Expires August 31, 2022
20    CARSON REPORTING & ASSOCIATES
21    Post Office Box 551628
22    Dallas, Texas 75355-1628
23    Telephone 214.346.3434
24
25



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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                             FT. WORTH DIVISION

 ROBERT “BOB” ROSS                       §
 Plaintiff/Counterclaim Defendant        §
                                         §      Case No. 4:22-CV-00343-Y
                                         §
                                         §
 ASSOCIATION OF                          §
 PROFESSIONAL FLIGHT                     §
 ATTENDANTS, MCGAUGHEY,                  §
 REBER AND ASSOCIATES, INC.,             §
 JULIE HEDRICK, ERIK HARRIS,             §
 LARRY SALAS, JOSH BLACK                 §
 Defendants/Counterclaim Plaintiff.      §
                                         §
 EUGENIO VARGAS                          §
 Plaintiff/Counterclaim Defendant        §
                                         §      Case No. 4:22-CV-00430-Y
                                         §
                                         §
 ASSOCIATION OF                          §
 PROFESSIONAL FLIGHT                     §
 ATTENDANTS, JULIE HEDRICK,              §
 ERIK HARRIS, LARRY SALAS,               §
 JOSH BLACK                              §
 Defendants/Counterclaim Plaintiff.      §
                                         §

  AFFIDAVIT OF EUGENIO VARGAS IN SUPPORT OF MOTION FOR SUMMARY
                           JUDGMENT



BEFORE ME, the undersigned authority, on this day personally appeared EUGENIO

VARGAS, who being by me first duly sworn, did state:

      1.     “I have been employed as a flight attendant working with American Airlines, Inc.

             since November 1995. I am also a member of the Association of Professional Flight

             Attendants (“APFA”). I have personal knowledge of the facts contained herein, I

             am 21 years or older and of sound mind to make these statements.

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      2.    I have read the foregoing Plaintiff’s Motion for Partial Summary Judgment and

            every factual contention for which I have personal knowledge is true and correct.

      3.    I am a current member of APFA in good standing. I met with an investigator with

            the United States Department of Labor in 2021 investigating the end-of-term

            payments I made while National Treasurer to myself, Marcy Dunaway, Nena

            Martin, and Robert “Bob” Ross. I have never been charged with or convicted of a

            crime.

      4.    On April 1, 2016 I was voted into office as the APFA National Treasurer. While

            serving in office, I made public statements with regard to union-related matters in

            opposition of a merger between the Association of Flight Attendants-CWA’s

            (“AFA”) or affiliation of any kind, with the APFA. After multiple attempts were

            made by AFA to effectuate a merger or a “raid” of APFA during 2016, I assisted in

            drafting a letter to AFA’s International President requesting that all attempts to

            merge or ‘raid’ our union cease immediately. I authorized my signature to be used

            on the letter dated July 4, 2017. A true and correct copy of a draft of the July 4,

            2017 letter sent by the Ross Administration to the AFA during my term in office as

            National Treasurer is attached hereto and incorporated herein. Additionally, this

            letter was read aloud at a labor coalition meeting by Ross in which AFA’s

            International President was in attendance on behalf of the entire Ross

            Administration. The original copy of the letter was left in the APFA archives.

      5.    I have also held other positions within the APFA prior to being voted to the National

            Treasurer’s position with the Ross Administration, including a position sitting on

            the APFA Board of Directors for two different terms. I have vocally opposed any



AFFIDAVIT OF EUGENIO VARGAS – Page 2

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            merger or affiliation between APFA and AFA while in these positions. I continue

            to support the American Airlines Flight Attendants union as an individual and

            independent labor union and continue to oppose any affiliation with AFA in the

            future.

      6.    On March 2, 2018, I learned that Robert “Bob” Ross (“Ross”) had negotiated and

            signed a Transition Agreement for his resignation from Mark Richards, Counsel for

            APFA at the time. Mark Richards showed me and APFA’s in-house Senior

            Accountant Rene Berthelot sections 3, 4, and 5 of the Transition Agreement that

            addressed Ross’s compensation on one occasion. In consultation with APFA Senior

            Accountant, Rene Berthelot, I calculated the payments made to Ross under his

            Transition Agreement. The payment calculations were approved by other APFA

            National Officers then forwarded to payroll and accounting staff for payment. I did

            not discuss nor consult with Ross about how to calculate these payments; Ross had

            no input on the calculations and payments made to him. I calculated the daily rate

            of pay using this total taxable annual income including the Meal Expense

            Allowance and the Special Assignment Fee guaranteed stipends and then dividing

            the amount by 365. This was in consultation with Rene Bartholet, APFA’s Senior

            Accountant. It was similar to the per diem calculation used to calculate payments

            made under Laura Glading’s, the prior APFA National President, Transition

            Agreement.

      7.    In 2019, I was contacted by APFA and told that I owed an overpayment made based

            on a miscalculation of the daily rate used to calculate and pay out my sick and

            vacation end-of-term payout. After several months of requesting a meeting, I met



AFFIDAVIT OF EUGENIO VARGAS – Page 3

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            with Hal O’Neil, APFA’s outside accountant, Nena Martin and Marcy Dunaway,

            and Craig Gunter, APFA National Treasurer at the time, to review and discuss the

            miscalculation and alleged overpayment owed. At this meeting, I informed Craig

            Gunter that the same method of calculation for the end-of-term payouts were used

            for myself, Nena Martin, and Marcy Dunaway as were used for Robert “Bob” Ross.

            APFA Board of Directors and APFA Legal Counsel met with me via telephone

            conference, wherein I was told APFA would file a lawsuit for my actions while in

            office based on this miscalculation. APFA agreed not sue me if I would repay the

            overpayment of the end-of-term payout. I agreed to repay APFA the amount of

            $4,143.57 and signed a promissory note in that amount. I have made all payments

            thereunder.

      8.    APFA Policy provided that calculations for payments were made in conjunction

            with staff accountants, reviewed and approved by two APFA officers for

            compliance with policy, and approved by two additional APFA accounting

            personnel for accuracy of calculation, budgeting purposes, and issuance of

            payment. If anything did not meet my approval, I escalated all matters to APFA

            Board of Directors for approval. I always followed procedures and policies while

            in office.

      9.    On September 14, 2021, Chinery v. Vargas Arbitration Hearing was held which I

            attended and was represented by Heidi Morgan and Nena Martin. During the

            Arbitration Hearing, I subpoenaed all four national officers to testify. Erik Harris

            testified regarding the overpayment damages and declared Ross was overpaid as a

            result of the change in the per diem formula used to pay out sick and vacation days



AFFIDAVIT OF EUGENIO VARGAS – Page 4

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            under his Transition Agreement. Additionally, I never received the Confidential

            Memo prior to or during the Arbitration Hearing. Erik Harris never informed the

            Arbitrator of the Confidential Memo.

      10.   All evidence and testimony regarding the Ross Transition Agreement was limited

            by the Arbitrator during my Arbitration Hearing. I was unable to fully question

            witnesses or present evidence about the interpretation of terms, the calculation of

            payments, or the determination of an overpayment.

      11.   I objected to witnesses that were intimidated and harassed to alter their testimony

            or prevent them from testifying for me. I was not provided with the chance to admit

            this evidence or address this issue at my Arbitration Hearing by the Arbitrator.

            Attached is a true and correct copy of an affidavit that I was denied admission on

            record by the Arbitrator.

      12.   To my personal knowledge, APFA has never banned an APFA member from

            holding office for life, until myself and Robert “Bob” Ross received Article VII

            Arbitration Awards.

      13.   To my personal knowledge, APFA has never publicly announced an Article VII

            Award in a Presidential Hotline Email to the APFA membership, until myself and

            Robert “Bob” Ross received Article VII Arbitration Awards. A true and correct

            copy of the Presidential Hotlines emailed to the APFA membership are attached

            hereto and incorporated herein.

      14.   Attached hereto and incorporated herein is a true and correct copy of the Article

            VII Arbitration Award issued against me on February 17, 2022.

      15.   Attached hereto and incorporated herein is a true and correct copy of the



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            Supplemental Arbitration Award increasing the fines against me to $30,963.03

            based on an audit conducted by APFA.

      16.   I was not given notice of the manner in which the audit was conducted, nor ever

            given a copy of the documents used to create the audit. I was never given the

            opportunity to attend or witness the audit. No one ever contacted me or my

            representatives to inquire as to expenses or charges and the circumstances

            surrounding those charges.

      17.   Attached hereto and incorporated herein are the receipts for all costs and expenses

            incurred because of my Article VII Disciplinary Arbitration as well as the final day

            of the Arbitration which was unpaid. The daily pay rate is $341.25. The costs of

            the hotel stay for the witnesses, plus costs all other additional costs totaled

            $1,842.05. The total amount of actual damages from Article VII Arbitration

            Hearing are $2,183.30.

      18.   I have publicly opposed any possible merger between AFA and APFA. The Article

            VII Arbitration Award, the ban against my ability to hold office and the public

            statements made against me have intimidated me and stifled my dissent, as I fear

            that I will suffer retaliation by my labor union for my position against APFA.

      19.   Attached hereto and incorporated herein is a true and correct copy of a letter from

            Erik Harris to all parties in my Arbitration related to documents that could not be

            located. This was an exhibit used in my Arbitration Hearing to question Erik Harris

            about missing documentation and whether the documents were well maintained.”



      FURTHER AFFIANT SAYETH NOT.



AFFIDAVIT OF EUGENIO VARGAS – Page 6

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                                          ____________________________________
                                          __________________________
                                          Eugenio Vargas


      SWORN AND SUBSCRIBED TO before me on this _____day of _____________ 2024.




                                          ____________________________________
                                            ____________________
                                          Notary
                                            t    Public
                                                 P bli




AFFIDAVIT OF EUGENIO VARGAS – Page 7

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July 4, 2017



Sara Nelson, President                                        DRAFT
Association of Flight Attendants
1275 K Street NW 5th Floor
Washington, D.C. 20006

Dear Sara:

As AFA’s President, you have sent many messages, both publicly and through AFA’s
mobilization efforts to get the public and APFA members to rally behind your effort to get APFA
to affiliate with AFA. Despite your attempt to characterize AFA’s conduct as a friendly overture
rather than a hostile raid, you did not even have the courtesy to send the message to any of the
APFA National Officers or Board of Directors.

You have,, however,, gone
                     g    to the extent of sendingg AFA letters,, Bagg Tags g and AFA pins
                                                                                       p to APFA
members,, as well as forcefullyy statingg at the recent Coalition of Laborr Unions meetingg on May
11,, 2017 “APFA stole 6000 of our AFA members and we are not going to stop until we have
every one of them back”.

You have also requested that APFA, along with our legal advisors, schedule a meeting with
AFA, however you have refused our premeeting requirement to sign a no-raid agreement and
also agree that any meeting between us would not include a discussion about a possible merger
between AFA and APFA.

As APFA’s National Officers,, we once again
                                         g wish to make it absolutelyy clear to youy and any
other AFA leaders who mayy supportpp you
                                       y in this matter that APFA is not interested in a
discussingg anyy affiliation with AFA. Moreover, any AFA effort to infiltrate the APFA Board of
Directors will not work.

It is APFA’s firm belief thatt a union’s efforts to organize
                                                      g       is best utilized in organizing
                                                                                    g      g
“unorganized”
       g       workers. Therefore,, we not only  y ask,, but we demand that you leave APFA and its
membership alone, and direct your energies and resources elsewhere.

On behalf of the APFA and the more than 26,000 Flight Attendants we represent,


Bob Ross                                     Nena Martin
President                                    Vice-President



Marcyy Dunaway                               Eugenio
                                               g     Vargus
Secretary                                    Treasurer



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8/1/22, 11:03 PM                                            3.24.22 – APFA Receives Article VII Arbitration Awards – APFA
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                                            Search here...




    3.24.22 – APFA Receives Article VII Arbitration Awards




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https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
                                                                                                               APPENDIX 297     1/7
8/1/22, 11:03 PM                                            3.24.22 – APFA Receives Article VII Arbitration Awards – APFA
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                                                                                                               APPENDIX 298     2/7
8/1/22, 11:03 PM                                            3.24.22 – APFA Receives Article VII Arbitration Awards – APFA
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                                        APFA Events                                                                         

                                        2022 Fall Board of Directors Meeting
                                        (https://www.apfa.org/event/2022-fall-board-of-
                                        directors-meeting/)
                                                                                                               APPENDIX 301     5/7
https://www.apfa.org/2022/03/24/3-24-22-apfa-receives-article-vii-arbitration-awards/
8/9/22, 5:36 PM                                                        Lawsuits Filed Against APFA
           Case 4:22-cv-00343-Y Document 239-6 Filed 04/26/24                                 Page 41 of 46 PageID 6980




                   Monday, June 6, 2022



                                                   Lawsuits Filed Against APFA
                   One of the first steps we took upon taking office a little over two years ago was reasserting
                   APFA’s adherence to financial accountability and transparency. Our administration and your
                   Board of Directors implemented financial reform in many sections throughout our Policy
                   Manual, but there is still more to accomplish.


                   Both the law and the APFA Constitution are clear- APFA members have a right to review
                   the union’s financial records to see how our dues dollars are spent. Previous allegations of
                   financial impropriety were swept under the rug in the name of unity or protecting the
                   institution.


                   After an in-depth review of APFA’s financial records, members brought forward charges
                   under Article VII of the APFA Constitution against former APFA National President Bob Ross
                   and former APFA National Treasurer Eugenio Vargas for financial malfeasance and
                   mismanagement. The problem is clear: APFA’s structure lacks a higher level of financial
                   oversight above the National Officer level. Our National Officers are expected to do the right
                   thing concerning financial accountability. Under our imperfect system of checks and
                   balances, APFA members are tasked with attempting to ensure financial accountability at
                   APFA.


                   The aforementioned charges were heard by one of the most respected arbitrators in the
                   country who had no prior involvement with APFA, Arbitrator Ruben Armendariz, a board
                   member of the prestigious National Academy of Arbitrators. After days of hearing and
                   reviewing lengthy briefs, Arbitrator Armendariz issued decisions in each case in February
                   and March of this year and took the extraordinary step of banning both former officers from
                   holding any position for life in APFA. Both were fined and ordered to repay certain costs
                   related to the arbitration. In addition, Arbitrator Armendariz ordered an independent audit
                   of meal expenses, car rentals, furniture purchases, and personal vacation expenses paid for
                   by APFA, which is ongoing.


                   In the Vargas award, after a three-day hearing and full exchange of evidence, Arbitrator
                   Armendariz determined: “It is this arbitrators Opinion, Vargas attempted to benefit
                   monetarily and thus failed in his fiduciary duty as National Treasurer by willfully changing
                   the formula for the payouts for Bob Ross, Nena Martin, and Marcy Dunaway as well as
                   himself.” Arbitrator Armendariz also found Vargas failed in his duty to properly inventory
                   furniture and ordered an audit of meal expenses.


                   In the Ross award, Arbitrator Armendariz determined that “Defendant Ross has
                   overwhelmingly violated the APFA Policy Manual and APFA Constitution.” Arbitrator

https://mailchi.mp/apfa.org/lawsuits-filed-against-apfa?e=cb0c5b0668
                                                                                                     APPENDIX 302         1/3
8/9/22, 5:36 PM                                                        Lawsuits Filed Against APFA
           CaseArmendariz
                4:22-cv-00343-Y      Document
                          further stated:         239-6 finds
                                          "The arbitrator Filed 04/26/24
                                                              that throughoutPage   42 of 46 Defendant
                                                                             this proceeding, PageID 6981
                   Ross intentionally and willfully ignored the provisions of the APFA Policy Manual and thus,
                   has violated and abused his fiduciary duty entrusted to him by the APFA membership.
                   Ross’s testimony was inconsistent and not forthright. Because Ross abused his position of
                   trust as well as his fiduciary duty to the membership of the APFA, he can no longer hold a
                   position of trust with the APFA."


                   The arbitrator took the rare step of ordering Mr. Ross to pay the full cost of the hearing and
                   repay APFA for certain infractions. Ross was banned from holding any position with APFA for
                   life and told to resign as SFO Base President.


                   To be clear, what was uncovered in these hearings was nothing short of shocking. The union
                   credit card was used to the tune of tens of thousands of dollars on furniture and meals for
                   officers with insufficient documentation or adherence to proper procedure. Much of
                   this furniture is still unaccounted for. Key financial records are missing, and the meal policy
                   was often not adhered to  to.


                   This should have been the end of the matter, and APFA should be able to focus on defending
                   and negotiating our contract with American Airlines.


                   In the aftermath of the arbitration awards, rather than accepting the rulings, the Ross and
                   Vargas teams have chosen to go to Federal Court to attempt to overturn the arbitration
                   awards. In complaints filled with conspiracy theories and dubious legal theories, they argue
                   everyone is to blame but themselves.


                   Click here to read the Ross v APFA complaint.


                   Click here to read APFA's response to the Ross v APFA complaint.


                   Click here to read the Vargas v APFA complaint.


                   (Because the Vargas complaint was filed after the Ross complaint, APFA's
                   response to the Vargas v APFA complaint has not yet been filed with the court.)


                   The law and the APFA Constitution are very clear that arbitration awards are final and
                   binding. By suing APFA to overturn the awards, the charged parties will cost the APFA
                   membership a great deal of dues money in the form of legal fees (unless the charged
                   parties are required to pay costs). These lawsuits serve no purpose but to divert attention
                   from the workplace issues that matter to our Flight Attendants.


                   Another concern is the corruption that existed within APFA by limiting members' access to
                   union financials out of fear that others would uncover potential impropriety. In the past,
                   APFA Leaders were advised by their outside legal counsel to limit financial transparency and
                   “protect the institution.” The lack of financial oversight of APFA National Officers has created
                   these problems. As a result, we are forced to hire an outside arbitrator to oversee Article
                   VII charges, which is a costly procedure. Article VII, Section 6.H of the APFA Constitution
                   provides that the decision of the Article VII Arbitrator shall be final and binding on the
                   accuser and the accused. When we receive an arbitration award and the accused parties
                   refuse to accept the results, they make a mockery of the APFA Constitution, and we must
                   spend our dues dollars on defending our union and our leadership, instead of using those
                   finances to improve the work lives of the membership. APFA cannot continue to operate this
                   way in the long term.


                   We don't believe it was always this way at APFA. The founders of our union broke free from

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                                                                                                     APPENDIX 303     2/3
8/9/22, 5:36 PM                                                         Lawsuits Filed Against APFA
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                4:22-cv-00343-Y     Document
                   male-dominated Transport     239-6
                                            Workers     Filed
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                                                          (TWU) and formedPage  43focused
                                                                           a union of 46 on
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                   Attendants. By all accounts, they ran a clean union, and we have many accomplishments
                   over the years. But things change, and good intentions are not enough. Over the last
                   decade, this union has lurched from one internal crisis to another.


                   APFA members work hard for our dues money every day. We believe in the work conducted
                   at APFA and all the Leaders and Flight Attendants who make up our union.


                   We deserve to know our dues are being spent for their intended purpose. We will maintain
                   financial transparency, vigorously defend this union, and keep you apprised of the status of
                   these lawsuits.


                   In Solidarity,




                   About APFA:
                   The Association of Professional Flight Attendants (APFA) represents the 24,000+ Flight
                   Attendants of American Airlines, an airline that consists of aviation professionals with a
                   diverse history brought together from multiple airlines. From APFA’s inception in 1977, the
                   Union has fiercely advocated for the Flight Attendant profession. Our Union has been at the
                   forefront of the fight for workplace equality, legislative affairs, and worker’s rights.




                   APFA Headquarters:
                   (817) 540-0108 | www.apfa.org | 1004 W. Euless Blvd, Euless, TX 76040



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                   ujKtvÿZPÿ\RXÿbcdbÿmwXQg\^xXÿyZee^\\XXÿumyvÿ\ZÿR^PXÿOLÿoL]XYXL]XL\ÿdZPXL[^Qÿbg]^\ZPÿ\Z
                   Og]^\ÿxOP^Zg[ÿQROPaX[ÿOL]ÿXwYXL[X[ÿf`ÿkZ[[ÿOL]ÿnOPaO[rÿlRXÿOg]^\[ÿOPXÿLZWÿQZeYhX\Xrÿb[ÿO
                   PX[gh\ÿZ_ÿ\RXÿOg]^\ZPz[ÿ_^L]^La[UÿZLÿbgag[\ÿSTUÿSVSSUÿbPf^\PO\ZPÿbPeXL]OP^sÿ^[[gX]
                   Oÿ{|}}~~ÿ ÿÿÿÿ^LÿXOQRÿQO[XÿWR^QRÿeZ]^_^X]ÿ\RX
                   PXeX]^X[ÿ^LÿfZ\RÿZ_ÿ\RXÿZP^a^LOhÿ]XQ^[^ZL[ÿ\ZÿPX_hXQ\ÿ\RXÿoL]XYXL]XL\ÿdZPXL[^Qÿbg]^\ZPz[
                   ^]XL\^_^X]ÿ^\Xe[rÿ
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                   oLÿR^[ÿNOPQRÿ«¬UÿSVSSUÿ]XQ^[^ZLÿ^LÿQZLLXQ\^ZLÿW^\Rÿ\RXÿQROPaX[ÿOaO^L[\ÿjZfÿkZ[[UÿbPf^\PO\ZP
                   bPeXL]OP^sÿZP]XPX]ÿO[ÿZLXÿO[YXQ\ÿZ_ÿ\RXÿPXeX]`ÿ\RO\­
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                          D87Eÿ2=85;ÿJFÿKLJMFÿ6/873C/ÿN3;IÿKLJOÿ:<4ÿ40608E5<0ÿ6/0ÿ>796ÿ7Dÿ:;;ÿ5<:==87=85:60
                          >/:8C09PÿQDÿ<7ÿ47>3E0<6:657<ÿH:9ÿ=87R5404ÿ67ÿ93==786ÿ0:>/ÿ=38>/:90ÿH:9ÿ:ÿ3<57<
                          80;:604ÿG395<099ÿ>796Fÿ6/0<ÿ?799ÿ59ÿ;5:G;0ÿD78ÿ:;;ÿ5<:==87=85:60ÿ>/:8C09ÿ:<4ÿ59ÿ/080GI
                          S840804ÿ67ÿ80=:Iÿ6/0ÿ2AB2ÿD78ÿ:;;ÿ5<:==87=85:60ÿ>/:8C09T
                       U,ÿ./0ÿ2345678ÿ9/:;;ÿ5<9=0>6ÿ:;;ÿ7Dÿ?799@ÿ80<6:;ÿ>:8ÿ39:C0ÿD87Eÿ2=85;ÿJFÿKLJMFÿ6/873C/
                          S>67G08ÿJMFÿKLJMFÿ:<4ÿ40608E5<0ÿ5Dÿ6/090ÿ80<6:;9ÿH080ÿD78ÿ3<57<ÿ80;:604ÿG395<099P
                          2AB2ÿ=:54ÿD78ÿ6/0ÿ80<6:;ÿ>:89ÿG36ÿ6/080ÿ9/73;4ÿG0ÿ47>3E0<6:657<ÿ67ÿ9/7Hÿ5Dÿ56ÿH:9ÿD78
                          3<57<ÿ80;:604ÿG395<099PÿQDÿ<76Fÿ?799ÿ59ÿ67ÿG0ÿ:9909904ÿ6/0ÿ>796ÿ7Dÿ6/0ÿ80<6:;ÿ>:89
                          4385<Cÿ6/0ÿ:G7R0ÿ=08574ÿ:<4ÿ59ÿ/080GIÿS840804ÿ67ÿ80=:Iÿ2AB2ÿD78ÿ5<:==87=85:60ÿ80<6:;
                          >:8ÿ39:C0T
                       V,ÿ./0ÿ2345678ÿ9/:;;ÿ5<9=0>6ÿ:;;ÿ7Dÿ?799@ÿ>;:5E04ÿE5;0:C0ÿD87Eÿ6/0ÿW:>8:E0<67ÿ258=786ÿ67
                          /59ÿ809540<>0ÿXYKÿE5;09Zÿ:<4ÿ80638<ÿXYKÿE5;09Zÿ:9ÿH0;;ÿ:9ÿ:;;ÿE7<6/;Iÿ=:8[5<Cÿ7Dÿ/59
                          =0897<:;ÿ>:8Pÿ\0ÿ>;:5E04ÿ]JL^PLLÿ=08ÿE7<6/ÿD87Eÿ2=85;ÿJFÿKLJMFÿ6/873C/ÿN3;IÿKLJM
                          67ÿ=:8[ÿ/59ÿ>:8ÿ:6ÿ6/0ÿW:>8:E0<67ÿ:58=786Pÿ?799ÿ59ÿ67ÿG0ÿ:9909904ÿ6/0ÿE5;0:C0ÿ:<4
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                          6/090ÿ5<:==87=85:60ÿ>/:8C09T_
                   `abcÿebfaghijbcÿbkÿilhÿmnojipÿilhÿqcohahcohciÿrbshctjeÿunojibsÿashamshoÿmÿshabsi
                   vljelÿvmtÿtnwfjiihoÿibÿilhÿuswjismibsxÿqcÿilmiÿshabsipÿilhÿunojibsÿohihsfjchop
                   mkihsÿshyjhvÿbkÿmggÿilhÿmymjgmwghÿkjcmcejmgÿshebsotpÿilmiÿkbsfhsÿzmijbcmgÿ{shtjohci
                   |bttÿbvhoÿmcÿmoojijbcmgÿ}~ ÿibÿilhÿhfwhstljaÿbkÿilhÿu{rupÿjcÿmoojijbcÿib
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                   pÿohejtjbcxÿmthoÿbcÿilhÿunojibstÿkjcojctÿmcoÿshabsipÿilhÿuswjismibsÿjttnho
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                                                 239-6                                   Page 46 of 46 PageID 6985

                   <=>ÿ@AABCÿDE>ÿ=ÿFAÿGCHIJKCKÿLEÿLMCÿNOPÿEGÿQRÿLEÿMFGCÿIJÿ@JKCSCJKCJLÿTBKFLEGÿLEÿIBKFL
                   UIGVIAÿWGCKFLÿWIGKÿWMIGVCAÿKBGFJVÿMFAÿLCGHÿIAÿDILFEJIXÿYGCIABGCG>ÿUIGVIAÿFAÿMCGCZ[ÿOGKCGCK
                   LEÿGCSI[ÿT\]Tÿ^EGÿIXXÿHCIXAÿMCÿSBGWMIACKÿEJÿLMCÿT\]TÿWGCKFLÿWIGKÿ^EGÿMFHACX^ÿIJKÿ^EGÿIXX
                   ELMCGÿHCIXAÿMCÿMIAÿJELÿSGESCGX[ÿKEWBHCJLCK>ÿ@^ÿMCÿMIAÿ^IFXCKÿLEÿSGE_FKCÿKEWBHCJLILFEJÿLE
                   ABSSEGLÿLMCÿSBGWMIACÿE^ÿLMCÿHCIXÿC`SCJACaÿLMCÿ@JKCSCJKCJLÿTBKFLEGÿHBALÿKCLCGHFJCÿF^ÿAIFK
                   C`SCJACÿbIAÿEGÿbIAÿJELÿ^EGÿLMCÿAEXCÿSBGSEACÿE^ÿWEJKBWLFJVÿcJFEJÿZBAFJCAA>ÿdEGCE_CGaÿLMC
                   IBKFLÿHBALÿWEHSX[ÿbFLMÿ^CKCGIXÿFJWEHCÿLI`ÿVBFKCXFJCAÿbMFWMÿKFALFJVBFAMÿZCLbCCJÿSCGAEJIX
                   IJKÿJEJSCGAEJIXÿC`SCJACA><ÿ
                   efghÿjgkflmnoghÿgpÿnqmÿrstonuÿrvÿwrvÿtghmÿohÿnqmÿxgvvÿjrvmuÿnqmÿyhtmfmhtmhn
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                         IWWEBJLIJLAÿLEÿE_CGACCÿLMCÿIJJBIXÿIBKFLÿIJKÿLEÿWGCILCÿSGEWCKBGCAÿIJK
                         GCWEHHCJKILFEJAÿLEÿSGCWXBKCÿ^GIBKÿ^EGÿLMCÿNOPÁAÿGC_FCbÿIJKÿIWLFEJÿLEÿZCÿFJWXBKCK
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                         IJÿT\]TÿWGCKFLÿWIGKÿHBALÿZCÿMCXKÿCWEJEHFWIXX[ÿGCASEJAFZXC>ÿYMCÿXIJVBIVCÿWGCILCK
                         HBALÿZCÿ_CG[ÿWXCIGÿIJKÿBJIHZFVBEBA>ÿYGIFJFJVÿE_CGÿLMCÿÂdÃPTÿHBALÿZCÿI
                         GCÄBFGCHCJLÿ^EGÿIXXÿDILFEJIXÿO^^FWCGAÿEGÿIJ[ÿSCGAEJÿbMEÿWIJÿC`LCJKÿT\]TÿLEÿWGCKFLÿIJK
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